Case 1:16-cv-02145-JEJ-MCC Document 115 Filed 01/11/18 Page 1of1

Elliott Greenleaf

A Professional Corporation . 925 Harvest Drive - Suite 300
7. . / . Blue Bell, Pennsylvania 19422
KYLE M. ELLIOTT, ESQUIRE 8 . can ’
Direct Dial (21 5077-4043 : : Phone: (215) 977-1000 e Fax: (215) 977-1099
KME@elliottgreenleaf.com - www. elliottgreenleaf.com
January 9, 2018
Via Email

Magistrate Judge Martin C. Carlson

Ronald Reagan Federal Bldg. & U.S. Courthouse
228 Walnut Street

Harrisburg, PA 17108-0983

magistrate _ judge_carlson@pamd.uscourts.gov

Re: Julie Ellen Wartluft f/k/a Julie Ellen Bartels and Frederick L. Bartels, Jr., Individually
and as Administrators of the Estate of Abrielle. Kira Bartels, Deceased v. Milton Hershey
School, et al.

Civil Action No. 1:16-ev-2145-CCC (M.D. Pa.)

Dear Judge Carlson:

We represent Defendants in the above-referenced action. Plaintiffs have identified Katrina Rohlf as
one of their Federal Rule of Civil Procedure 26(a)(1) witnesses. Accordingly, on or about September 29,
2017, Defendants served her with a Subpoena to Testify at a Civil Action, scheduling her deposition for
October 16, 2017. See (Exs. “1-4.”) Although she was served and cashed her witness fee check, Ms. Rohlf
failed to appear for her deposition. (Ex. “5) (Oct. 16, 2017, Dep. Trans.) ;

On October 20, 2017, Defendants sent Ms. Rohlf correspondence requesting that she appear for her
deposition on October 23, 2017. (Ex. “6”.) While she again failed to appear for her. deposition on October
23, 2017, her mother, Christine Rohlf, did appear to be deposed in accordance with a separate deposition
subpoena, and confirmed that her daughter received the Subpoena to Testify at a Civil Action.

On October 31, 2017, Defendants sent Ms. Rohlf another letter seeking her compliance with the
Subpoena. (Ex. “7”.) In response to this letter, she contacted the undersigned’s administrative assistant, and
stated that she would not appear for her deposition.

Defendants have engaged in a good faith effort to obtain compliance with the Subpoena.
Accordingly, we respectfully request that the Court enter the attached proposed Order directing Ms. Rohlf to
appear for her deposition. We are, if necessary, available to discuss the proposed Order at the Court’s
convenience. Thank you for your timely consideration. mo

Re ° VA 4

e M. Elliott

  

KME/gec
Enclosures
(via email)
ce! Jarad W. Handelman, Esquire
Gregory F. Cirillo, Esquire
John J. Higson, Esquire
Kevin J. Neary
Katrina Rohlf (via federal express)

 

BLUE BELL HARRISBURG PHILADELPHIA SCRANTON + WILKES-BARRE WILMINGTON
